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SO ORDERED.

SIGNED this 24 day of August, 2018.




                                                 John T. Laney, III
                                        United States Bankruptcy Judge


                           UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF GEORGIA
                               COLUMBUS DIVISION


In Re:                                 )
                                       )           Chapter 13
Dennis Ray Duty, II and Lauren,        )
Culbreth Duty,                         )           Case No.: 15-40920 -JTL
      Debtors                          )
Federal National Mortgage Association, )
                                       )
      Movant                           )
                                       )
v.                                     )
                                       )
Dennis Ray Duty, II and Lauren,        )
Culbreth Duty, Debtors,                )
Kristin Hurst, Trustee                 )
                                       )
      Respondents                      )

                  ORDER ON MOTION FOR RELIEF FROM STAY

SUBJECT PROPERTY: 615 Lake Harding Drive, Hamilton, Georgia 31811

      The above matter is before the Court pursuant to the creditor’s Motion for Relief from the
Automatic Stay. Good cause having been shown,
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        IT IS HEREBY ORDERED that the 11 USC § 362(a) automatic stay is lifted as to Movant
herein, it successors and assigns, regarding the real property commonly known as

        FURTHER ORDERED that Movant, its successors and assigns, may assert its rights, including,
but not limited to, the institution and completion of foreclosure proceedings, the collection of reasonable
fees, and may assert any and all of its respective rights and remedies under applicable law, as to its
collateral.

        FURTHER ORDERED that the Trustee shall cease funding the balance of Movant’s pre-
petition arrearage claim and supplemental claim, if any.

        FURTHER ORDERED that upon the completion of any foreclosure sale, any funds in excess of
the amount due to Movant under its Note and Security Deed, and to any subordinate lienholder(s)
properly entitled to receive proceeds under applicable state law, shall be paid to the Trustee for the
benefit of the Estate.

       FURTHER ORDERED that Movant’s claim is no longer treated pursuant to Section 1322(b)(5)
such that Fed. R. Bankr. P. 3002.1 no longer applies to Movant, it successors and assigns, in the instant
bankruptcy case until further notice from the Court.

        FURTHER ORDERED that Movant, at its option, is permitted to contact the Debtors via
telephone or written correspondence regarding potential loss mitigation options pursuant to applicable
non-bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any
other potential loan workout or loss mitigation agreements.

         FURTHER ORDERED that the provisions of Bankruptcy Rule 4001(a)(3) are waived.

                                           END DOCUMENT

Order prepared and
submitted by:

/s/ Ernest Kirk, II
Ernest Kirk, II
State Bar No. 423500
Denney, Pease, Kirk & Morgan
P. O. Box 2648
Columbus, Georgia 31902-2648
(by/for) Kristin Hurst
Chapter 13 Trustee
